     Case 2:21-cv-08279-BRM-JSA Document 50 Filed 04/08/22 Page 1 of 2 PageID: 2190

                                   WARSHAW LAW FIRM, LLC
Julie M.W. Warshaw, Esq. *~^             266 King George Road, Suite C2     ----------------------------------
                                            Warren, New Jersey 07059        Licensed in New Jersey *
Mildred V. Spiller, Esq. *                    Phone: (973) 433-2121         Licensed in New York ~
                                                                            Licensed in Massachusetts ^
                                               Fax: (973) 439-1047          Of Counsel +
                                        jwarshaw@warshawlawfirm.com
                                      clientservices@warshawlawfirm.com
                                           www.warshawlawfirm.com




                                                     April 8, 2022

       Via Electronic Filing
       Honorable Brian R. Martinotti, U.S.D.J.
       United States District Court
       50 Walnut Street
       Newark, NJ 07102

                  Re: East Brunswick Board of Education v. D.S. and M.S. o/b/o A.S.
                     Case No.: 2:21-cv-08279-BRM-JSA

       Dear Judge Martinotti:

              In connection with the above referenced case, as you know, I represent the
       Defendants who, after a full special education due process hearing, on January 5,
       2021, obtained a favorable decision by ALJ Crowley. The district thereafter filed
       an appeal complaint in this Court. There have been various motions and Orders to
       Show Cause regarding enforcement of ALJ Crowley’s and Your Honor’s Order. A
       settlement conference took place on April 1, 2022, before Magistrate Allen, and
       was unsuccessful.

             On February 3, 2022, counsel for the plaintiff district filed a Certification,
       ECF No 47, affirming that the plaintiff intends to rely only upon the administrative
       record for purposes of its appeal. On April 1, 2022, a Text Order was entered on
       the docket confirming that discovery in the case is complete.

             Based upon the foregoing, the case is now ripe for summary judgment for a
       modified de novo review and the defendants wish to file a motion in that regard.
       Pursuant to the Pretrial Discovery Order, ECF No. 21, dated September 9, 2021,
       Paragraph 15:

                  No motions are to be filed without prior written permission from this Court.
                  All dispositive motions must first be subject to a dispositive motion pre-
                  hearing. Discovery must be completed prior to the filing of a dispositive

                                                       1
Case 2:21-cv-08279-BRM-JSA Document 50 Filed 04/08/22 Page 2 of 2 PageID: 2191




       motion. These prerequisites must be met before any motions are filed and
       the motions will be returned if not met. All calendar or dispositive motions,
       if permitted, shall comply with Local Civil Rules 7.1(b) and 56.1.

 Defendants respectfully request permission to file our motion for summary
 judgment using the modified de novo standard.

       Thank you for your attention and courtesies in this matter.


                                       Respectfully submitted,
                                       WARSHAW LAW FIRM, LLC

                                       By: _/s/_JulieWarshaw, Esq.
                                             Julie Warshaw, Esq.

 cc:   Jodi S. Howlett., Esq. (Via Email)
       D.S. and M.S. (Via Email)




                                            2
